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EASTERN DtSTnICT oF LOUISIANA
OFFlCE oF THE CLERK

LoRRETTA G. WHYTE 500 POYDRAS ST., SUITE C-151
CLERK NEw ORLEANS, LA 70130
May 11, 2005
aaberi Di rrolio, Clerk ‘-. B`i'
United States District Court b""""-~-___`
Western District of Tennessee MA),
167' N. Main St., Room 242 l 6 2005
l\/lemphis, TN 38103 Rob
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1a Re: MDL 1657 vioxx Producis Liabiliry Litigarion L (3) ' EMPH,S

Dear Mr. Di Trolio:

Enclosed are certified copies of a transfer order received from the Multidistrict Litigation Panel
in Washington, D.C. It instructs that the cases listed on the attached page be transferred to our district
for disposition pursuant to Title 28 USC 1407, as soon as possible Our office has assigned new civil
action numbers to these cases as referenced on the attached page.

DO NOT FORWARD THE ORIGINAL RECORD. The Honorable Eldon E. Fallon, U.S.
District Court Judge issued an order directing that the transfer of records consist of only a certified
copy of the complaint (including notice of removal, if applicable), any amendments, the docket sheet
and the MDL Transfer Order, together with a copy of the transfer letter be forwarded to the transferor
court.

 

Due to the high volume of cases involved in this litigation please provide paper copies of
the above documents instead of simply referring to your website. Your prompt attention in this
matter is greatly appreciated

Should you have any questions regarding this request, please contact Dina Guilbeau at
(504)589-7704.

Very truly yours,

Loretta G. WMC
By : ‘

Deputy Clerk

 

Enclosures
cc: Judicial Panel on Multidistrict Litigation

Case 1:05-cv-01068-.]DT-STA Document 20 Filed 05/16/05 Page 2 of 4 Page|D 14

 

 

Your Case Nos. Case Title Our Case Nos.
1:0 -1067 Pauline Tharpe. et al v Merck& Co.. Inc. 05-1796 L Lll_
1;05_1068 Chanes M. Flippin, et al v. ineer & Co., Inc. 05-1797 LQ
1105_1078 Rita Rutherford v. Merck & Co., Inc. 05-1798 L (3)
2:05-2189 Christian Jensen v. Merck & Co., Inc. 05-1799 L (3)

2:05-2191 Diane Mclntyre v. Merck & Co., Inc. 05-1800 L (3)

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DOCKETNO. 1657 cLEH§!§Eé)FF.CE

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LIABILITY LITIGA TION

HLED MAY -g 2005
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CONDITIONAL TRANSFER 0RDER (CT -6) LORETEEZRWH
On February 16, 2005, the Panel transferred 138 civil actions to the United States District Court for the
Eastem District of Louisiana for coordinated or consolidated pretrial proceedings pursuant to 28 U.S.C. §
1407. Since that tirne, 280 additional actions have been transferred to the Eastern District of Louisiana.
With the consent of that court, all such actions have been assigned to the Honorable Eldon E. Fallon.

(SEE A TTA CHED SCHEDULE)

 
   
  

 

 

 

 

It appears that the actions on this conditional transfer order involve questions of fact which are common to
the actions previously transferred to the Eastern Distn`ct of Louisiana and assigned to Judge Fallon.

Pursuant to Rule 7.4 of the Rules of Proeedure of the Judicial Panel on Multidistrict Litigation. 199 F.R.D.
425, 43 5-36 (2001), these actions are transferred under 28 U.S.C. § 1407 to the Eastern District of
Louisiana for the reasons stated in the order of February 16, 2005, ____F.Supp.2d__ (J.P.M.L. 2005),
and, with the consent of that court, assigned to the Honorabie Eldon E. Fallon,

This order does not become effective until it is filed in the Off`ice of the Clerk of the United States District
Court for the Eastern District of Louisiana. The transmittal of this order to said Clerk shall be stayed

fifteen (15) days from the entry thereof and if any party files a notice of opposition with the Clerk of the
Panel within this fifteen (15) day period, the stay Will be continued until further order of the Panel.

ron THE PANEL:

W[), ada

Michael J. deck
Clerk of the Panel

 

 

 

 

 

 

 

 

 

 

 

 

 

lnasrnuch as no objection is CLERK'S OFF|CE
pending at this time, the ~
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Deputy Cle k U S D' ti E__"_ : DOC` NO`““""`“'
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JuoiclAL PANEL on Easf°§i Df§rlct Of Louisiana
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Notice of Distribution

This notice confirms a copy of the document docketed as number 20 in
case 1:05-CV-01068 Was distributed by faX, mail, or direct printing on
June 3, 2005 to the parties listed.

ESSEE

 

Thomas M. Donnell

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T. Robert Hill

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1269 N. Highland Ave.
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Honorable J ames Todd
US DISTRICT COURT

